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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

ANTHONY KOCH,                                     §
    Plaintiff,                                    §
                                                  §
v.                                                §    CIVIL ACTION NO. 5:17-cv-1007
                                                  §
CENTRAL MUTUAL INSURANCE                          §
COMPANY,                                          §
     Defendant.                                   §

                                     NOTICE OF REMOVAL

         Defendant, Central Mutual Insurance Company (hereinafter referred to as “Central”), hereby

files this Notice of the Removal of this case from the 288th Judicial District Court of Bexar County,

Texas, to the United States District Court for the Western District of Texas, San Antonio Division,

pursuant to 28 U.S.C. § 1441 and 1446(b) and would show the Court as follows:

                                                  1.

         Central has been sued in Cause No. 2017CI16766, entitled “Anthony Koch v. Central Mutual

Insurance Company”, currently pending in the 288th Judicial District Court of Bexar County, Texas.

That lawsuit was originally filed on August 31, 2017, 2017 in the 288th Judicial District Court of

Bexar County, Texas.

                                                  2.

         Central first received notice of Plaintiff’s lawsuit when Central was served with Plaintiff’s

lawsuit on September 18, 2017. Central is filing this notice within thirty days of that date, making

this removal timely under 28 U.S.C. § 1446(b).

                                                  3.

         At the date of commencement of this action and at all pertinent times, Plaintiff is a citizen

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of the State of Texas, being an individual residing in and domiciled in the State of Texas

                                                   4.

         At the date of commencement of this action and at all pertinent times herein, Central is a

citizen of the State of Ohio, being an insurance company incorporated in the State of Ohio, and

having its principal place of business in the State of Ohio.

                                                   5.

         This Court has original jurisdiction of this action under 28 U.S.C. § 1332, and it may be

removed to this Court by Central, pursuant to 28 U.S.C. § 1441, it being a civil action wherein the

amount in controversy exceeds $75,000.00, exclusive of interest and costs, as between citizens of

different states. The amount in controversy requirement is easily satisfied by Paragraph 83 of

Plaintiff’s Original Petition, which shows Plaintiff is making a claim against Central for over

$100,000, but not more than $200,000, thereby satisfying the amount in controversy required for

diversity jurisdiction.

                                                   6.

         Plaintiff has requested a trial by jury, having demanded same in Plaintiff’s Original Petition

filed in state court.

                                                   7.

         The attorneys involved in the case are as follows:

         Mr. Matin J. Phipps                            Mr. Russell J. Bowman
         Texas State Bar No. 00791444                   Texas State Bar No. 02751550
         Mr. J. Gabriel Ortiz                           800 West Airport Freeway, Suite 860
         Texas State Bar No. 24085512                   Irving, Texas 75062
         1322 Space Park Drive, Suite A155              (214) 922-0220
         Houston, Texas 77058                           (214) 922-0225 (Fax)
         (832) 415-1432                                 E-Mail: russelljbowman@sbcglobal.net
         (281) 940-2137 (Fax)                           Attorney for Defendant

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         E-Mail: gortiz@phippsllp.com
         E-Mail: rsoliz@phippsllp.com
         Attorneys for Plaintiff
                                                       8.

         Copies of all the pleadings which have been filed or served in this action to date, and which

are attached as Exhibit “A”, include the following:

         a.       Plaintiff’s Original Petition; and

         b.       Citation served on Central Mutual Insurance Company.

         To the best of Central’s knowledge, no other pleading, process or order has been filed or

served in the state court lawsuit referred to above.

         Wherefore, Defendant, Central Mutual Insurance Company, prays that this action be removed

to this Court from the 288th Judicial District Court of Bexar County, Texas and for further

proceedings as may be necessary.

                                                            Respectfully submitted,


                                                            /S/Russell J. Bowman
                                                            Russell J. Bowman
                                                            Texas State Bar No. 02751550
                                                            800 West Airport Freeway, Suite 860
                                                            Irving, Texas 75062
                                                            (214) 922-0220
                                                            (214) 922-0225 (FAX)
                                                            E-Mail: russelljbowman@sbcglobal.net
                                                            ATTORNEY FOR DEFENDANT

                                     CERTIFICATE OF SERVICE

        This is to certify that on October 8, 2017, I electronically filed the foregoing document with
the clerk of court for the U. S. District Court, Southern District of Texas, using the electronic case
filing system of the court.

       I hereby certify that I have served a true and correct copy of the foregoing document on all
counsel of record, as indicated below, on this the 8th day of October, 2017:

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Mr. Martin J. Phipps                        VIA E-MAIL - gortiz@phippsllp.com
Mr. J. Gabriel Ortiz                        VIA E-MAIL - rsoliz@phippsllp.com
Phipps, LLP
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Attorneys for Plaintiff

                                            /S/Russell J. Bowman
                                            Russell J. Bowman




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                                 EXHIBIT A




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